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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
__________________________________________
ELVIRA MOYER                               :
                        Plaintiff,         : CIVIL ACTION NO. 19-cv-17922
       v.                                  :
                                           :
MERCER GROUP INTERNATIONAL OF NJ,          :
INC. and RICHARD LODGEK                    : STIPULATED NOTICE OF
                        Defendants.        : DISMISSAL
__________________________________________:


       Pursuant to Rule 41(a)(1)(A)(ii), Plaintiff, Elvira Moyer, and Defendants, Mercer Group

International of NJ, Inc. and Richard Lodgek, hereby agree to the dismissal with prejudice of their

individual claims in the above referenced matter, with each party to

and costs.

       IT IS SO STIPULATED THROUGH COUNSEL OF RECORD.



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